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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

HAMPTON DELLINGER, in his personal
capacity and in his official capacity as Special
Counsel of the Office of Special Counsel,                Civil Case No. 25-cv-000385 (ABJ)

                          Plaintiff,

                 -against-

SCOTT BESSENT, in his official capacity as
Secretary of the Treasury, SERGIO GOR, in his
official capacity as Director of the White House
Presidential Personnel Office, KAREN
GORMAN, in her official capacity as Principal
Deputy Special Counsel and, upon the purported
removal of the Special Counsel, the Acting
Special Counsel of the Office of Special
Counsel, KARL KAMMANN, in his official
capacity as the Chief Operating Officer of the
Office of Special Counsel, DONALD J.
TRUMP, in his official capacity as President of
the United States of America, and RUSSELL
VOUGHT, in his official capacity as Director of
the Office of Management and Budget,

                             Defendants.

MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’ MOTION TO STAY

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       We write on behalf of Special Counsel Hampton Dellinger in response to the government’s

motion to stay the Court’s order granting judgment and awarding declaratory and injunctive relief

to Special Counsel Dellinger. See ECF 32, 33, 36. The government’s motion should be denied

because it satisfies none of the requirements for a stay. See Nken v. Holder, 556 U.S. 418, 434

(2009). As the Court has explained, most recently in its opinion granting summary judgment, the

government is not likely to succeed on the merits. ECF 32 at 32-59. And for reasons the Court has

provided in denying the government’s prior stay motions, the government is similarly unable to

satisfy any of the remaining stay factors. See ECF 14 at 16-25; ECF 19 at 2; ECF 32 at 60-66.

       In connection with this motion, there is one factual clarification that the Special Counsel

respectfully notes. The Court’s summary judgment opinion observes that the Special Counsel is

nonpartisan. ECF 32 at 65-66. That is correct and Special Counsel Dellinger conducts himself in

a nonpartisan manner. See, e.g., Tom Devine, Group Praises Federal Whistleblower Agency for

Nuts and Bolts Reforms, Gov’t Accountability Proj. (Sept. 17, 2024); Oren Liebermann, Navy

Secretary Violated Hatch Act by Endorsing Biden for Reelection, Watchdog Finds, CNN (Sept. 5,

2024); Stephen Dinan, Top Biden Aide Faces Hatch Act Complaint Over Illegal Fundraising

Solicitations, Wash. Times (Nov. 7, 2024); Rebecca Beitsch & Zack Budryk, FEMA Employee

Violated Hatch Act with Directive to Skip Homes with Trump Signs, OSC Says, The Hill (Feb. 11,

2025); @SenTedCruz, X (June 6, 2024, 12:40 PM) (“Thank you to Special Counsel Dellinger for

your attention to this issue.”); see also Compl. ¶ 32 n.7, ECF 1. As one example of the Special

Counsel’s nonpartisan work, the Court referred to a matter involving Hunter Biden. ECF 32 at 66.

Special Counsel Dellinger recused himself from that matter and had no involvement with it.




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                                         Respectfully submitted,


                                         /s/ Joshua A. Matz___________
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DATED: March 2, 2025




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